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                        UNITED STATES DISTRICT COURT


                          DISTRICT OF SOUTH DAKOTA


                                WESTERN DIVISION



UNITED STATES OF AMERICA,                            CR. 21-50021-JLV


                   Plaintiff,
                                                          VERDICT
      vs.



MATTHEW SHAWN BUCHKO,

                   Defendant.



        We, the jury duly empaneled and sworn to try the issues in the case,
unanimously find as follows:
                                      COUNT I

lA.    We unanimously find the defendant MATTHEW SHAWN BUCHKO (fill in
       either "not guilty^ or "guilty^) Su t LT-/
       of Receipt of Child Pornography on or about between April 17, 2014, and
       February 27, 2020, as charged in count I of the indictment.


       If you found the defendant MATTHEW SHAWN BUCHKO not guilty of
       count I, do not complete the following section. If you found the defendant
       MATTHEW SHAWN BUCHKO guilty of count I, designate by marking the
       lines below which of the following images you found to be visual depictions
       containing child pornography. Your findings as to each image must be
       unanimous:



               V 37              ^ 45              V 53                   68
              ^ 38               y 46               W 55              V 72
              V    39             V   47           V 56               V   73
              "V   40            -y   48           ^ 57               y   74
              V 41                y 49               ^58              y 75
              V 42               y 50               V 59
              V 43               V 51                 61
              7 44                y 52              Y 62
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IB.   Answer if, and only if, you found Mr. Buchko not guilty or are unable to
      reach a unanimous verdict as to the offense of receipt of child pornography
      in part lA of this form. If you found Mr. Buchko guilty of receipt of child
      pornography proceed to count II.

      We unanimously find the defendant MATTHEW SHAWN BUCHKO (fill in
      either "not guilty" or "guilty")                                       of
      possession of child pornography as a lesser included offense of count I as
      set out in Instruction No. 24.


      If you found the defendant MATTHEW SHAWN BUCHKO not guilty of
      possession of child pornography do not complete the following section.      If
      you found the defendant MATTHEW SHAWN BUCHKO guilty of possession
                                                            -)


      of child pornography, designate by marking the lines below which of the
      following images you found-to be visual depictions containing child
      pornography. Your iindings as to each image must be unanimous:
                  37                   45              53                 68
                  38                   46              55                 72
                  39                   47              56                 73
                  40                   48              57                   74
                  41                   49              58                   75
                  42                   50              59
                  43                   51              61
                  44                   52              62


      If you found any of the images to be visual depictions containing child
      pornography, designate by marking the lines below which images, if any,
      involved a minor who had not attained 12 years of age. Your findings as
      to each image must be unanimous:


                  38                   43              48                   61
                  39                   44              49                   62
                  40                   45              56                   68
                  41                   47              57                   73
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                              COUNT II

 2.   We unanimously find the defendant MATTHEW SHAWN BUCHKO (fill in
      either "not guilty^ or "guilty") fyl I LVj                            of
      Possession of Child Pornography o n or about February 27, 2020,
      as charged in count II of the indictment.


      If you found the defendant MATTHEW SHAWN BUCHKO not guilty of
      count 11, do not complete the following section. If you found the defendant


       MATTHEW SHAWN BUCHKO guilty of count II, designate by marking the
      lines below which of the following images you found to be visual depictions
      containing child pornography. Your findings as to each image must be
       unanimous:


                  78           ^ 80                    89
              V 79              V 83              1^91

c JtKlUAg^
       Date



                                                  Foreperson
